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                                        ATTACHMENT A


CERTIFICATION OF UBS GROUP AG. UBS AG. AND UBS BUSINESS SOLUTIONS AG


To:      United States Department of Justice
         Tax Division
         Attention: Chief, Southern Criminal Enforcement Section

         United States Attorney’s Office
         Eastern District of Virginia
         Attention: U.S. Attorney

Re:    Certifications of UBS Group AG, UBS AG, and UBS Business Solutions AG

       UBS Group AG hereby acknowledges that CREDIT SUISSE SERVICES AG—& wholly

owned subsidiary of UBS Business Solutions AG which in turn is a wholly owned subsidiary of

UBS Group AG—^has agreed with the United States Department of Justice, Tax Division and the

United States Attorney’s Office for the Eastern District of Virginia (collectively the “Offices”) to

plead guilty in the Eastern District of Virginia pursuant to the attached Plea Agreement and to make

other commitments as reflected in the Plea Agreement and its Attachments.

       UBS Group AG and the Offices acknowledge that, as part of UBS’s plan of merger with

Credit Suisse Group AG, in the second quarter of 2025, CREDIT SUISSE SERVICES AG is

expected to merge with UBS Business Solutions AG (also known as BUSO) (collectively hereafter

with any successors in interest to the merged entity, the “Subsidiaries”). The merged entity will

have a new name that has not yet been determined. CREDIT SUISSE SERVICES AG will notify

the Offices within three business days of the date that the merger has occurred.

       UBS Group AG, UBS AG, and UBS Business Solutions, which are not defendants in this

matter, hereby agree as follows:

       (1)    to undertake the cooperation commitments set forth in Paragraph 8 of the Plea

Agreement and Attachments;

       (2)    to undertake the following cooperation commitments as successor in interest to
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Credit Suisse AG:


               a.         during the Term of the Agreement, submit quarterly reports, or cause the

defendant to submit, to the Offices regarding the status of Legacy Credit Suisse U.S. Accounts for

which the bank does not have indicia of tax compliance and remediation efforts in the Switzerland

booking center, including (i) the provision of information about the monitoring and closing of

Legacy Credit Suisse U.S. Accounts, (ii) the provision of statistical data about the number of

Legacy Credit Suisse U.S. Accounts transitioned to UBS, refused onboarding, and/or closed during

the quarter, and (iii) information about future plans to change, implement, and/or enforce

compliance efforts; and

               b.         test and report to the Offices the results of the integration of Credit Suisse

AG and UBS AG’s U.S. tax compliance programs with respect to its U.S. cross-border business, on

a schedule to be approved by the Offices; and

       (3)     to undertake the disclosure and certification undertaking set forth in Paragraph

8.b(7) of the Plea Agreement and ensure that the defendant truthfully, completely, and timely

discloses all factual information required by the Plea Agreement, including any evidence.

allegations, and internal or external investigations related to the Offices’ Investigation about which

the Offices may inquire. This obligation of truthful disclosure includes, but is not limited to, the

obligation of UBS Group AG to assist the defendant in meeting its cooperation obligations under

the Agreement, including by providing to the Offices, upon request, any document, record, or other

tangible evidence about which the Offices may inquire, including evidence that is responsive to any

requests relating to the Office’s Investigation made prior to the execution of this Agreement. This

obligation is subject to applicable law and privileges, including the attorney-client privilege and

applicable confidentiality laws;

       (4)    to ensure that UBS Group AG, UBS AG, and the Subsidiaries fully comply with
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their commitments in the Plea Agreement and Attachments—includin g but not limited to the

applicable cooperation, disclosure, and compliance commitments made in Paragraph 8 of CREDIT

SUISSE SERVICES AG’s Plea Agreement and Attachments;

        (5)    to execute, through designated executives, Attachment F to the Plea Agreement at

the end of the term of probation, certifying the defendant’s, UBS Group AG’s, UBS AG’s, and the

Subsidiaries’ compliance with the disclosure obligations in the Plea Agreement and Attachments;

        (6)     during the Term of the Agreement, UBS Business Solutions AG shall commit no

violations of the federal criminal laws of the United States;


        (7)    UBS Group AG, UBS AG, and UBS Business Solutions AG shall not make or cause

to be made, through their attorneys, boards of directors, agents, officers, employees, consultants, or

authorized agents (including contractors, subcontractors, or representatives), including any person

or entity controlled by any of them, any public statement contradicting or excusing any statement of

fact contained in the Statement of Facts, and if it or any of their direct or indirect subsidiaries or

affiliates make any affirmative public statement in connection with the Plea Agreement, including

via press release, press conference remarks, or a scripted statement to investors, UBS AG shall

first consult the Offices to determine (a) whether the text of the release or proposed statements at

the press conference are true and accurate with respect to matters between the Offices and the

Subsidiaries; and (b) whether the Offices have any objection to the release or statement;

       (8)     to agree to the undertakings regarding any change in corporate form described in

Paragraph 2 of the Plea Agreement, including but not limited to, agreeing to entry of an order of

substitution of the entity subject to any term of probation as the successor in interest to CREDIT

SUISSE SERVICES AG, or other acquiror; ensure that in the event of any change in corporate

form, the acquiror agrees to the obligations set forth in the Plea Agreement and acknowledges the

Statement of Facts; and notify the Offices of any anticipated change in corporate form at least 60
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days in advance;

       (9)     that in the event of a breach of the Plea Agreement, any prosecution relating to the

conduct described in the Information and the Statement of Facts or relating to conduct known to the


Offices prior to the date on which the Plea Agreement was signed that is not time-barred by the

applicable statute of limitations on the date of the signing of the Plea Agreement may be

commenced against any successor in interest, including, potentially, a member of the UBS Group

AG, including UBS AG and/or UBS Business Solutions AG, notwithstanding the expiration of the

statute of limitations, between the signing of this Plea Agreement and the expiration of the term of

probation plus one year. UBS Group AG, including UBS AG and/or UBS Business Solutions AG,

agree to waive any claims that (a) UBS entities are not successors in interest of Credit Suisse

entities or (b) the actions of either UBS or CS subsidiaries are not imputed to their parent

companies. Thus, UBS Group AG agrees that the statute of limitations with respect to any such

prosecution that is not time-barred on the date of the signing of the Plea Agreement shall be tolled

for the term of probation plus one year;

       (10)    that in the event of a breach of the Plea Agreement, UBS Group AG, UBS AG, UBS

Business Solutions AG, and/or any successor in interest shall thereafter be subject to prosecution

for any federal criminal violation of which the Offices have knowledge, including, but not limited

to, the charge in the Information described in Paragraph 3 and Attachment C of the Plea

Agreement, which may be pursued by the Offices in the U.S. District Court for the Eastern District

of Virginia or any other appropriate venue; and

       (11)    to voluntarily waive and give up the rights enumerated in Federal Rule of Criminal

Procedure 11(f) and Federal Rule of Evidence 410 and agree that, as of the date CREDIT SUISSE

SERVICES AG signs the Plea Agreement, UBS Group AG, UBS AG, and UBS Solutions AG will

not dispute the Statement of Facts and the Statement of Facts shall be admissible against UBS
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Group AG, UBS AG, UBS Business Solutions AG, or any successor in interest in any criminal case

involving the Offices as: (a) substantive evidence offered by the government in its case-in-chief and

rebuttal case; (b) impeachment evidence offered by the government on cross- examination; and (c)

evidence at any sentencing hearing or other hearing. UBS Group AG, UBS AG, and UBS Business

Solutions AG agree not to assert any claim under the Federal Rules of Evidence (including Rule

410 of the Federal Rules of Evidence), the Federal Rules of Criminal Procedure (including Rule 11

of the Federal Rules of Criminal Procedure), or the United States Sentencing Guidelines (including

U.S.S.G. § IBl.l(a)) that the Statement of Facts should be suppressed or is otherwise inadmissible

as evidence (in any form). Specifically, UBS Group AG, UBS AG and UBS Business Solutions AG

understand and agree that any statements that Credit Suisse AG, CREDIT SUISSE SERVICES

AG, UBS Group AG, UBS AG, or UBS Business Solutions AG made during the investigation or

make in the course of CREDIT SUISSE SERVICES AG’s guilty plea or in connection with the

Plea Agreement are admissible against UBS Group AG, UBS AG, UBS Business Solutions AG,

and/or any successor in interest for any purpose in any U.S. federal criminal proceeding.

        Failure to fully execute and comply with the above agreements shall be the basis for a

breach of the Plea Agreement consistent with the provisions concerning claimed breaches in the

Plea Agreement.

       Nothing in this Agreement shall require UBS Group AG, UBS AG, or UBS Business

Solutions AG to waive any protections of the attorney-client privilege, attorney work-product

doctrine, or any other applicable privilege. Nothing in this Agreement shall require UBS Group

AG, UBS AG, or UBS Business Solutions AG to violate the law of any jurisdiction in which it

operates.

        The undersigned are duly authorized by the respective Boards of Directors to sign this

Certification on behalf of the respective Boards of Directors.
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                          u.
    By:                                          Dated: 5 May 2025
          Barbara Levi
          Group General Counsel
          UBS GROUP AG
          UBS AG
          UBS BUSINESS SOLUTIONS AG




    By:                                          Dated: 5 May 2025

          Group Chief Financial Officer
          UBS GROUP AG
          UBS AG
          UBS BUSINESS SOLUTIONS AG




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